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                        IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,                            MEMORANDUM DECISION AND
                                                     ORDER GRANTING GOVERNMENT’S
                       Plaintiff,                    MOTION FOR LEAVE TO FILE BRIEF
                                                     OUT OF TIME AND DENYING
v.                                                   WITHOUT PREJUDICE DEFENDANT’S
                                                     MOTION FOR EARLY TERMINATION
STEVEN MAYER,                                        OF SUPERVISED RELEASE

                       Defendant.                    Case No. 2:10-CR-821 TS

                                                     District Judge Ted Stewart



         This matter is before the Court on the government’s Motion for Leave to File Brief Out

of Time and Defendant’s Motion for Early Termination of Supervised Release. For the reasons

discussed below, the Court will grant the government’s Motion and deny Defendant’s Motion

without prejudice.

                                         I. BACKGROUND

         Defendant was named in an Indictment on September 8, 2010, charging him with

conspiracy to distribute a mixture or substance containing a detectable amount of 3,4-

methylenedioxymethamphetamine (“MDMA”) and a mixture or substance containing a

detectable amount of N-benzylpiperazine (“BZP”), and possession with intent to distribute a

mixture or substance containing a detectable amount of MDMA. Defendant pleaded guilty to

possession with intent to distribute MDMA on October 28, 2011. On January 17, 2012,

Defendant was sentenced to a term of imprisonment of twenty-one months, to be followed by a

thirty-six month period of supervised release.



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       Defendant began his term of supervision on December 28, 2012. Defendant now

requests termination of the remaining term of his supervised release. Defendant’s Motion

represents that he has maintained gainful employment, fulfilled all of his financial obligations to

the Court, reported to his supervising officer as directed, and submitted negative drug tests.

Consultation with Defendant’s supervising officer confirms these representations.

       The government opposes Defendant’s Motion, noting that Defendant had difficulty while

on pretrial release and has only completed just over one year of his term of supervision.

                                         II. DISCUSSION

       Defendant’s Motion for Early Termination of Supervised Release was filed on February

21, 2014. The government did not timely respond, but did file a response out of time on March

25, 2014. Initially, Defendant objected to the government’s late filing. However, the

government filed its Motion for Leave to File Brief Out of Time, explaining the reasons the

response was filed late, and Defendant has now withdrawn his objection. Therefore, the Court

will accept the government’s late filed opposition and will consider the government’s arguments

in determining Defendant’s Motion.

       18 U.S.C. § 3583(e) permits the Court to terminate supervised release at any time after a

defendant has completed at least one year of supervised release, but prior to completion of the

entire term, if the Court is satisfied that such action is (1) warranted by the conduct of an

offender and (2) is in the interest of justice. In making this determination, the Court is directed

to consider the factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable.

       The Court notes that Defendant has done extremely well while on supervision.

Defendant has maintained employment, paid all of his financial obligations, reported to his



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supervising officer as directed, and submitted negative drug tests. While the Court commends

Defendant on his success, the Court finds the government’s argument concerning the duration of

Defendant’s supervision release to be well taken. Defendant was ordered to be on supervision

for three years. Defendant has now been on supervision for just over one year. The Court is

encouraged with Defendant’s success to this point, but believes that further supervision will be

of assistance. Therefore, the Court will deny Defendant’s Motion at this time but will do so

without prejudice. If Defendant continues to be successful on supervision, the Court will look

favorably on a motion filed in 180 days.

                                      III. CONCLUSION

         It is therefore

         ORDERED that the government’s Motion for Leave to File Brief Out of Time (Docket

No. 379) is GRANTED. It is further

         ORDERED that Defendant’s Motion for Early Termination of Supervised Release

(Docket No. 376) is DENIED. Defendant may re-file his Motion 180 days from the date of this

Order.

         DATED this 2nd day of April, 2014.

                                              BY THE COURT:



                                              Ted Stewart
                                              United States District Judge




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